                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 11, 2023
BY ECF
                                           The revised post-trial briefing schedule is approved.
The Honorable Edgardo Ramos                Sentencing is adjourned to June 21, 2023 at 10 a.m. The Clerk
United States District Court               of the Court is respectfully directed to terminate the motions,
Southern District of New York              docs. 261 and 262.
40 Foley Square                            SO ORDERED.
New York, New York 10007

          Re:    United States v. Trevor Milton, S1 21 Cr. 478 (ER)                   1/23/2023

Dear Judge Ramos:

        The Government writes on behalf of the parties regarding the schedule for sentencing in
this matter. The Government understands that additional time will be necessary for the United
States Probation Office to complete the Presentence Investigation Report and for the parties to
draft responsive submissions. Accordingly, the parties respectfully request the schedule to be
revised as follows:

      x   The Government’s opposition to the defendant’s pending post-trial motions to be submitted
          on or before January 20, 2023.
      x   The defendant’s reply, if any, to the Government’s opposition to be submitted on or before
          February 3, 2023.
      x   Sentencing to be held in approximately 90 days, at a date and time convenient to the Court.

Additionally, the defendant requests an opportunity for oral argument on his post-trial motions,
while the Government expects that no oral argument will be necessary.

                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney for the
                                                       Southern District of New York

                                                 By:    s/
                                                       Jordan Estes
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cc:       Counsel of Record (by ECF)
